Case 06-10725-gwz Doc 3602-5 Entered 04/26/07 16:54:38 Page 1 of 10

Case 06-10725-gwz

Doc 3602-5 Entered 04/26/07 16:54:38 Page 2 of 10

STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.

Thomas J. Allison 4484 South Pecos Road
NV 89121

Las Vegas,

April 10,
Invoice No.

2007
360308

For Legal Services Rendered Through March 12, 2007

Thomas

Matter No.. 34585-00025

J. Allison

FTD - Case Adminstration

03/01/07.

03/01/07

03/02/07
03/03/07
03/05/07

03/05/07

03/06/07

03/06/07

K Applegate

S Strong

K Applegate
K Applegate
K Applegate

B Kotter

K Applegate

A Jarvis

2.

90

-40

.20

30

-80

.60

-20

Review of IRS regulation on the breakout of
fees (.2); discussions with Rick Hartley on
breakout (.5); analyze fee breakout ‘between
entities (1.9); follow up calls with KPMG (.3).

Analysis of issues concerning FIDF tax return
(0.5); telephone conference with S. Smith
regarding same (0.2).

Continued analysis on the deduction of expenses
on the FYDF tax return.

Telephone call with KPMG on the taxes for the
FIDF (.2).

Telephone call with KPMG on the tax issues
for FITDF (.3).

Review Treas. Reg. regarding capitalized
expenses (.4); review application for analysis
(1.4).

Telephone call with KPMG (.2); telephone
conference with Susan and KPMG on issues
relating to the tax returns (.4).

Correspondence on reserve issues.

Client

Debtor
03/07/07
03/07/07
03/08/07
03/08/07
03/08/07

03/08/07

Case 06-10725-gwz

Doc 3602-5 Entered 04/26/07 16:54:38 Page 3 of 10

No. 34585 , Page: 2

USA Commercial Mortgage Co., et al. April 10, 2007

S Strong .20 Review notice to investors regarding FIDF tax
returns (.2).

S Strong .30 Work on declaration from $8. Smith in support of

K Applegate
A Jarvis
S Strong

5S Strong

30
50
30

~10

objections to claims against FTDF (0.3).

Telephone calls to KPMG on tax returns (.2);
review e-mails (.1).

Review documentation of issues raised by
Compass on purchase price reduction escrow.

Work on declaration requested by FTDF Committee
in support of various claims objections (0.3).

Review FTDF Committees request for sale
closing documents, and forward same to D. M.
Monson (.1).

TOTAL FOR LEGAL SERVICES RENDERED . $2,376.50

Case 06-10725-gwz

Doc 3602-5 Entered 04/26/07 16:54:38 Page 4 of 10
Case 06-10725-gwz Doc 3602-5 Entered 04/26/07 16:54:38 Page 5 of 10

STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 . Invoice No. 360309

For Legal Services Rendered Through March 12, 2007

Thomas J. Allison

Matter No.

34585-00026

Diversified-Case Administration

03/01/07
03/01/07

03/01/07

03/01/07
03/01/07
03/01/07

03/01/07

A Jarvis

A Jarvis

E Monson

E Monson

E Monson

E Monson

E Monson

-20

.50

.60

Telephone conference with E. A. Monson.
regarding hearing tomorrow, telephonic
appearance.

Review pleadings in preparation for hearings
on motion to dismiss and on motion for
prejudgment writ of attachment.

Review numerous e-mails regarding HMA hearing
and opposition pleadings.

Review pleadings and affidavit in opposition
to motion for prejudgment writ of attachment
and review Nevada statutes.

Review brief in support of motion for
prejudgment writ and send e-mail to C. Larsen’
regarding same.

Various discussions and review e-mails from
C. Larsen, 8. Don, M. Levinson and A. W.
Jarvis regarding HMA hearing.

Put together pleadings and send to A. W.
Jarvis for hearing.

Case 06-10725-gwz Doc 3602-5 Entered 04/26/07 16:54:38 Page 6 of 10

Client No. 34585 Page: 2
Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/01/07 E Monson .30 Draft e-mails to L. Schwartzer and J.
McPherson and calls to office regarding
hearing.
03/01/07 E Monson .20 Additional discussions with C. Larsen

regarding interrogatory responses and send
responses to interrogatories for filing.

03/01/07 E Monson .20 Discussion with S. Nounna regarding HMA
lawsuit and review voice mail from G. Brennan.
03/01/07 E Monson .30 Review e-mail from E. Madden regarding
tracing and follow up with Mesirow on
analysis.
03/02/07 A Jarvis .50 Prepare for hearings on Investor VI and HMA.
03/02/07 A Jarvis 1.70 Attend hearing telephonically on Investor VI
. and HMA hearings.
03/02/07 A Jarvis 1.10 Analyze Diversified/HMA issues and pull
documents regarding same.
03/02/07 A Jarvis .80 Telephone conference with J. McPherson and E.
A. Monson regarding Great White issues.
03/02/07 A Jarvis .30 Review and approve order on HMA.
03/05/07 A Jarvis .30 Telephone conference with M. Levinson

regarding HMA, plan.

03/05/07 A Jarvis .30 Correspondence on discovery in Investor VI
involuntary.

03/05/07 A Jarvis .20 Correspondence on HMA litigation.

03/05/07 A Jarvis 1.00 Gather documents regarding HMA litigation.

03/05/07 B Kotter .60 Exchange e-mails with S. C. Strong regarding

McGimpsey appeal (.2); review docket and
brief conference with S. C. Strong regarding
appeal (.4).

03/05/07 S Strong .40 Review and analyze correspondence and
documents from Shoemaker Trust counsel
regarding request to assign membership
interests in DTDF (.4).

Case 06-10725-gwz Doc 3602-5 Entered 04/26/07 16:54:38 Page 7 of 10

Client No. 34585
Debtor USA Commercial Mortgage Co.,

Page: 3

et al. April 10, 2007

03/05/07 S Strong .30 Review docket and papers filed in McGimsey
appeal (0.1); exchange emails with B. Jd.
Kotter regarding same (0.1); review emails
from A. W. Jarvis and B. Olson regarding same
(O.1). :

03/06/07 A Jarvis -90 Conference call with client and Diversified
Committee regarding HMA litigation.

03/06/07 A Jarvis -30 Correspondence with client on Colt Gateway
payoff issues.

03/06/07 A Jarvis -40 Telephone conference with T. Allison
regarding Colt Gateway proposal and telephone
message to C. Scully regarding same.

03/06/07 A Jarvis -50 Correspondence on negotiations on payoff of
Colt Gateway.

03/06/07 A Jarvis .80 Revisions and correspondence: with Colt
Gateway regarding payoff proposal.

03/07/07 A Jarvis -70 Correspondence with C. Scully regarding
payoff agreement on Colt Gateway.

03/07/07 A Jarvis -30 Correspondence with client on Colt Gateway
negotiations.

03/07/07 A Jarvis .10 Telephone conference with M. Levinson
regarding Placer Vineyards issues.

03/07/07 A Jarvis -80 Correspondence with Committee and C. Scully
regarding negotiations on Colt Gateway payoff.

03/07/07 A Jarvis .50 Correspondence with C. Scully and D. Hayes
regarding negotiations on Colt Gateway payoff.

03/07/07 A Jarvis -30 Telephone conference with C. Scully regarding
negotiations on Colt Gateway payoff.

03/07/07 A Jarvis .40 Correspondence with Committees regarding
finalizing Colt Gateway payoff agreement.

03/07/07 A Jarvis -40 Revisions to Colt Gateway payoff agreement.

03/07/07 A Jarvis -80 Revisions to and correspondence regarding

finalizing Colt Gateway payoff agreement and
filing of same.

Case 06-10725-gwz Doc 3602-5 Entered 04/26/07 16:54:38 Page 8 of 10

Client No. 34585 . Page: 4,
Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/07/07 A Jarvis 1.10 Final revisions to Colt Gateway payoff

agreement and arrange for filing of same.

03/07/07 S Strong .80 Further review papers received from Shoemaker
Trust attorney J. King regarding transferring
DITDF membership interest (0.6); exchange
emails with A. W. Jarvis regarding same
(0.1); voice message to J. King regarding
same (0.1).

03/08/07 C Hurst 1.20 Scan, convert and forward Wells Fargo
documents produced relative to HMA litigation.

03/09/07 A Jarvis -10 Correspondence with Diversified Committee
regarding Colt Gateway hearing.

03/09/07 A Jarvis 3.70 Review documents, correspondence and time
line on HMA issues, IP pledge in preparation
for deposition of. T. Allison in HMA

litigation.

03/10/07 A Jarvis 2.00 Review documents and timeline regarding
preparation for Allison deposition in HMA
litigation.

03/11/07 A Jarvis 6.50 Review documents, timeline regarding HMA
Sales.

03/12/07 A Jarvis .50 Gather documents for preparation for
deposition of T. Allison.

03/12/07 A Jarvis 3.00 Meet with T. Allison and S. Smith regarding

HMA Sales, preparation for deposition.

03/12/07 A Jarvis 7.00 Defend deposition of T. Allison on HMA Sales.

03/12/07 B Kotter .60 Prepare engagement letter for DTDF

post-effective entity.
03/12/07 S Strong .20 Review plan implementation motion and order

concerning issues affecting
post-effective-date DTDF (.2).

TOTAL FOR LEGAL SERVICES RENDERED $17,349.50

Case 06-10725-gwz Doc 3602-5 Entered 04/26/07 16:54:38 Page 9 of 10

38 Page 10 of 10

54:

Doc 3602-5 Entered 04/26/07 16

Case 06-10725-gwz

LNAWSSUNEWISY G2LSSNDaY WLOL

B9°298 PEZS
OO CLE ZS UMBIDUTIAA AINE}UNIOA
a2 SL LE2S EC EPO CES £6828 c2$ BO PPE PZS PY BGY ELS SV PVE DNS SS Lege 40°269'S15 66SEP9zS 25°086'PS$
os"osZ’es Og OSES
Os'6rS'LS oo'eaLs oo'szes OS'SOL'LS
bLS7Z'L6S OF 02261 2o'ale'es eg'e02'8$ 9 pa6'ss PL be l'ss LOBLL°8¢ poee7'ss$ SZ GELLLS og'9¢9'pzs
ELSLZes £0'60b3 Sc’BoLs beszes ao°es2s 99'7ors vo'ses es’eces op'eges 9p'96Z$
OZ ES Oe tS
ooooss oo'ooss
ogezss oe'vass o0'6$
25'B¢S 29°8¢$
Si-cer'r ls 96'608'y$ Oe ele es g0'9s0'rs e0'ezss 6L0PL'2s o0°0S-S
€2°860'r$ 60'es oo's6e'ls 00°091$ 9b os ooo0rs apes’ Ls
oszes sees 6b es o8'¢s SLES oss bpyls
os’S0L$ os"aLs os'2s os"ezs oes oo'oLs 00'rbs
ez0g8'19$ soaer'es ELZeL es 0892p’ g9°0Se'Z$ peeles oz ezo'rs L8°6p0'es oo'eor'zs g0'ere'LzZ$
2° L6E'LLS o9'paLs ec Slavs by Lez 6h VOLS pL lols 9Z°BbL$ bo'pses og'asL'z$ el eog'¢s
os'6s6s oo'sses os’e02$
oO FeY ES OObeZ ES
Sp'66r'OLS 00°6123 oose6'es OP Lyb'Ls o2"209$ ogeel'1s o8'ra6s orero'zs og Beles SZ7BSL'LS
Or bpa'ss- ae'cres- oo's6z$- oz‘ozs$- ct ece'es- OLOr6es- OZ 61S ES-
LE V92'LS 02°28 OO'CLPS gO°OLLS L9°19b$ SB'pes 69°g9$ OB PPLS BOLLS
9z7'206'0e$ go'bze'ss ec OLe’es saeed' ys vesol'Zs 6S pls ez 9z0'es 86'Lp0'9$ SO°L6LS
savior ae erLiqa: ATenver Taqmesag SquUISAO! Faqojso aqauijda: Srbi AK - Tay
“ddy 3s4]4

49°0S6 pos bS'6le Cis 626) GES €¢2 OSE Ses 682A) S$

og"osZeS os0S/'es

Og'SOL'Ls os'ze$ o0'0zs O0'6y0'LS

og'ozo' pes orosa'as 21-690'S$ 2£o°bS8'0LS oo's2$

opo6zs 2esezs ge'zes ez aces

Oz 1S OZ Es

oo'osEs OO'OSLS

eP'ves' LS ep y0o'ls oo'0E9s

bers OLS goes eb'ss ose

OOPS 00'rs 00's$ oss os"9$

BO Cre' ZS glozo'os BE SECS ZO'SEL LS Leoee'zs

el gog'es So'pors QoL 22S by'eas 6b eels

os'e02$ os"e02$

oO eZ Ls oo" less 000023

Sz eSL'1$ OP'sL2Zs se'pags Oz Lass oB’oLes

O2°61S'LS- OGLE" LS-

BOLLS Bo bLS

BOLEES LE eLs be'69$ £9°F0b$ 66°9$

jeyol at sunt ren jpay

ayeq sajoayy yBnoiy eyeq uonysd
Arewiuing esuedxy uoiyesjddy e+ jeul4 pue puoses

WLOL

ssaiues Buuyjeys jebajed Aleiodwa)
seywess Son

(sleay ‘uoneyedsuel, ‘ajay ‘eeply) esuedxy jaAes)
s|Baw sseuisng

SB) Yq

SuUIPUE}S Pood jo sayeoyNED
sjduosues| Buueaty

saidod payed

(830 apising) esuedx3 BujAdog,
seyqwees pue swodey apis

ssteys eaueysig Huo7 ejiwisoe.
({bulobjng) esusdx3 eywisoey
yoresey jetay eseqeyeq

selseyo xq pes

seolias BARebNSeAU}

seo. Bully

asutiedxe BulAdog

SUPaJO PUB SPUNeY

abeysod

selieyo euoydaja; aourjsiq Suo7

Tepdpsssagq

uoneoiddy jeulj pue puoses

WLOL

seolalas Buyjeys jetisjeied Aimioduwe)
seyquees on

{sjeaw ‘Uoqeyodsuel| ‘jajo} ‘euepy) sesuedxg jeaeis
S|RaW sseujsng

SOP UGIUXS

(8910 episjnC) asuadxg BujAdop
seywees pue spodey apt

seteyo asueysiq Huo] eluisoes
(Hulobjno) ssuadxg aljiwisoey
tuessey jeey ssequieq

sale) x pag

seajes eajebysaaul

seeg Bug

asuedxg Huldo5

spunjey

ateysod

seteyD suoydeye, soueysic} Bud’)

Uayjapssag

uoHeolddy wiisjuy JSi14
